EXHIBIT G
   
  

.S. Citizenship and Immigration Services

 

 

 

 

 

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT.

 

NOTICE DATE

March 06, 2020

paw waarmee Form I-797C, Notice of Action

 

 

USCIS ALIEN NUMBER

A2Z19127279

 

RECEIVED DATE PAGE
March 03, 2020 Lof]

 

 

DATE OF BIRTH

 

 

 

i PAYMENT INFORMATION:
i SYLWIA E. MANCHANDA

i C/O RAHUL MANCHANDA + o0000109 Application/Petition Fee: $673.00
i 4 COLUMBUS PLACE APT 6476 Biometrics Pee: $0.00
i NEW YORK, NY 10019 Total Amount Received: $675.00

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NAME AND MAILING ADDRESS

 

 

 

bove case has been received by our office and is in process.

Pleafs verify your personal information listed above and immediaicly notify the USCIS Contact Center if there are any changes.

  

ake note that ifa priority date is printed on this notice, the ptiority does not reflect earlier retained priority dates.

if yd i have questions, please visit the USCIS Contact Center at WWW .Uscis. gov/contactcenter to connect with a live USCIS
representative in English or Spanish.

  

5 hi have any questions or comments regarding this notice or the status of your case, please contact the USCIS Contact Center.

ul will be notified separately about any other case you may have filed.

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USCIS Office Address: USCIS Contact Center Number:

  
 

 

iS (800)375-5283

 

Summit, MO. 64002

 

 

 

 

 

 

Af this is an interview or biometrics appointment notice, please see the back of this notice for important information. Form 1-797C 04/01/19
